      Case 1:24-cv-00180-JCG     Document 34    Filed 03/04/25   Page 1 of 3




                  Before: Hon. Jennifer Choe-Groves
         UNITED STATES COURT OF INTERNATIONAL TRADE

       Zhaoyuan Junbang Trading Co., Ltd.,
       Linyi Yuwang Vegetable Protein Co.,
       Ltd., Shandong Yuwang Ecological                Court No. 24-00180
       Food Industry Co., Ltd., and Fenchem
       Biotek Ltd,


                         Plaintiffs,
              v.

      United States.



      Pursuant to Rule 56.2 of the Rules of the U.S. Court of International Trade,

Plaintiffs Zhaoyuan Junbang Trading Co., Ltd, Linyi Yuwang Vegetable Protein Co.,

Ltd., Shandong Yuwang Ecological Food Industry Co., Ltd., and Fenchem Biotek

Ltd, respectfully moves for Judgment on the Agency Record with respect to the

Commerce’s determination in Certain Pea Protein From the People’s Republic of

China: Antidumping and Countervailing Duty Orders at 89 Fed. Reg. 68,390.

      Plaintiff respectfully moves, for the reasons set forth in the accompanying

memorandum, for the issuance of a decision holding that the scope ruling was not

supported by substantial evidence and is not otherwise in accordance with law.

      Plaintiff further requests that the Court remand this matter to the U.S.

Department of Commerce for disposition consistent with the order and opinion of

this Court.


                                       1
    Case 1:24-cv-00180-JCG    Document 34     Filed 03/04/25      Page 2 of 3




    A proposed order is enclosed.

                                        Respectfully submitted,

                                          /s/ David Craven

                                        David J. Craven
                                        Counsel to Zhaoyuan Junbang Trading
                                        Co., Ltd., Linyi Yuwang Vegetable
                                        Protein Co., Ltd., Shandong Yuwang
                                        Ecological Food Industry Co., Ltd., and
                                        Fenchem Biotek Ltd, Jian




Date March 4, 2025




                                    2
      Case 1:24-cv-00180-JCG     Document 34     Filed 03/04/25    Page 3 of 3




                       CERTIFICATE OF COMPLIANCE

1. This brief complies with the guidelines set forth in the Standard Chambers
Procedures. The brief contains 5209 words on numbered pages (that is, excluding
only the Cover Page, the Table of Contents, the Table of Authorities, the signature
block, and the present certificate).

2. This brief has been prepared in a proportionally spaced typeface using Microsoft
Word in Times New Roman 14-point font.

                                             /s/ David J. Craven

                                          David J. Craven
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Date March 4, 2025
